Case 2:10-md-02179-CJB-DPC Document 12440-15 Filed 03/03/14 Page 1 of 6

1

1 UNITED STATES DISTRICT COURT

2 EASTERN DISTRICT OF LOUISIANA

4 IN RE: OIL SPILL, by the OIL RIG
5 "DEEPWATER HORIZON" in the

6 Gulf of Mexico, on APRIL 20, 2010 MDL NO. 2179

8 This Document Relates to: 12-00311 SECTION: J.

15 This is the deposition of ALEXIS RENE NUSUM, taken
16 before an Official Examiner at Hamilton Princess Hotel, 76
17 Pitts Bay Road, Pembroke Hamilton, Bermuda, HM 08, on

18 Wednesday, August 14, 2013 at 9:00 a.m.

22 Reported by: Lisa M. Barrett, CSR (Ont.) RPR, CRR

MG Court Reporting & Transcription Services
Bermuda, 441 232-6500
transcript @northrock.bm

Case 2:10-md-02179-CJB-DPC Document 12440-15 Filed 03/03/14 Page 2 of 6

24

25

18

Q. Did Cameron keep Chubb apprized
of its negotiations with BP?

A. Yes.

Q. How did it do so?

A. Through emails and through
calls with the carriers.

Q. To the best of your
recollection, did Liberty participate in those
emails and discussions?

A. Yes.

Q. Do you recall who from Liberty
participated in those discussions?

A. Yes.

Q. What are the names of those
individuals?

A. I just remember their lawyer
who was Paul Koepff.

Q. Do you recall a gentleman named
Jeffrey Roberts?

A. Yes.

QO. Who was Jeffrey Roberts?

A. I didn't know who he was at
that -- I don't --

Q. You did not know which insurer

he was associated with?

MG Court Reporting & Transcription Services
Bermuda, 441 232-6500
transcript@northrock.bm

Case 2:10-md-02179-CJB-DPC Document 12440-15 Filed 03/03/14 Page 3 of 6

26

A. This is emails between myself
and Mike Larsen and Cameron.

Q. Who is Mr. Larsen?

A. He is my monitoring counsel.

Q. Do you recall who Mr. Auslander
is?

A. Yes, he is coverage counsel for
Cameron.

Q. I believe we discussed
Mr. Eastman before.

A. Yes.

Q. He is an employee of Cameron.

A. Yes.

Q. As is Tony Black?

A. Yeah.

Q. What communications are

reflected in this email?

A. This is us telling -- well,
CAIL telling Cameron that we are ready to give our
limits.

Q. I'll refer you to page 3539,
the second page of the email, where Mr. Larsen
states:

"CAIL granted its consent to

the condition and non-financial

MG Court Reporting & Transcription Services
Bermuda, 441 232-6500
transcript@northrock.bm

Case 2:10-md-02179-CJB-DPC Document 12440-15 Filed 03/03/14 Page 4 of 6

24

25

27

terms of the proposed settlement

and made available to Cameron

the full $25 million limit under

the CAIL policy. In doing so,

CAIL consents to waive its

subrogation rights under the

policy as contemplated under the
terms of the Settlement

Agreement in consideration for

the releases and indemnities,

among other rights, provided to

Cameron and its insurers under

the terms of the proposed

Settlement Agreement."

So, first, do you recall that Chubb
agreed to pay Cameron its full $25 million limit?

A. Yes.

Q. Do you recall also that CAIL
consented to waive its subrogation rights under the
policy?

A. Yes.

Q. And that is a different
position from Chubb's initial reservation of
rights; is that correct?

A. Yes.

MG Court Reporting & Transcription Services
Bermuda, 441 232-6500
transcript @northrock .bm

Case 2:10-md-02179-CJB-DPC Document 12440-15 Filed 03/03/14 Page 5 of 6

34

1 MR. LARSEN: Why don't you restate,
2 so that we have the full question.

3 BY MS. TOZESKI:

4 Q. I'll withdraw.

5 Did you believe that Cameron was

6 entitled to full limits under the Chubb policy for
7 the settlement with BP?

8 MR. LARSEN: Object, just to the

9 extent it calls for a legal conclusion.

10 THE WITNESS: Yeah, that's —-

11 THE EXAMINER: Objection noted.

12 THE WITNESS: -- privileged.

13 I can't --

14 MR. LARSEN: You can respond to that,
15 to the extent that it doesn't require

16 attorney-client communication. She's asking for
17 your opinion as to whether you thought that they
18 were entitled to it, so you can respond as to what
19 you did in that circumstance, I think, without

20 divulging privilege.

21 BY MS. TOZESKT:

22 Q. Sure. I'll restate the
23 question.

24 . A. Okay. Thank you.

25 Q. Did you believe, in light of

MG Court Reporting & Transcription Services
Bermuda, 441 232-6500
transcript@northrock.bm
Case 2:10-md-02179-CJB-DPC Document 12440-15 Filed 03/03/14 Page 6 of 6

35

Chubb's agreement to pay full limits, that Cameron
was entitled to full limits under the terms of the
Chubb policy?

MR. LARSEN: Same objection.

THE WITNESS: Yes.

THE EXAMINER: Objection noted.

BY MS. TOZESKI:

Q. At some point did you become
aware that Liberty refused to offer its limits to
fund Cameron's settlement with BP?

A. I'm sorry, can you repeat that,
please?

Q. Sure. At some point did you
become aware that Liberty refused to offer its
policy limits to Cameron, to fund its settlement
with BP?

A. Yes.

Q. Do you recall why Liberty
refused to offer its policy limit?

MR. LARSEN: Objection, to the extent
it calls for speculation.

MR. DEES: Join in the objection.

THE EXAMINER: Objections noted.

THE WITNESS: When I read one of Paul

Koepff's letters, I saw what he stated as far as the

MG Court Reporting & Transcription Services
Bermuda, 441 232-6500
transcript@northrock.bm

